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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                          :
                                                  :
               v.                                 :         CRIMINAL NO. CCB 17-00106
                                                  :
WAYNE EARL JENKINS                                :
                                                  :

                                              ...oOo...


                                      MOTION TO SEAL


       Defendant Wayne Earl Jenkins, by undersigned counsel, hereby files this Motion to Seal

for the following reason:

       Defendant’s motion to dismiss references matters of a sensitive nature. Sealing the motion

and exhibit will maintain the confidentiality of those matters.

       WHEREFORE, Defendant respectfully requests the Court grant his Motion to Seal.



                                                      Respectfully submitted,



                                                      ___/s/____________________________
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